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 7
                                UNITED STATES BANKRUPTCY COURT
 8
                   CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
 9
     In re                                                Case No.: 2 :22-bk-11335-VZ
10
     DOV ARIEH CHARNEY,                                   Adversary Case No.: 2:22-ap-01064-VZ
11
                   Debtor and Debtor-in-Possession.       Chapter 11
12
                                                          DEBTORS OPPOSITION TO
13                                                        JUDGMENT CREDITORSMOTION TO
                                                          REMAND STATE COURT ACTION TO
14 P STANDARD GENERAL LTD., and                           CALIFORNIA SUPERIOR COURT
   STANDARD GENERAL MASTER FUND,
15 L.P.,                                                  Date: April 21, 2022
              Judgment Creditors,                         Time: 11:00 a.m.
16                                                        Place: Courtroom 1368
         vs.
17
   DOV CHARNEY; ART, COMMERCE &
18 MANUFACTURING SOLUTIONS, LLC;
   and APEX REAL ESTATE MANAGEMENT,
19 LLC,
              Judgment Debtors.
20

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 1            Debtor Dov Charney (Charney) hereby opposes the Motion to Remand State Court Action

 2 to California Superior Court (Motion to Remand) filed by Standard General L.P., Standard

 3 General Master Fund, L.P. and P Standard General Ltd. (collectively, Standard) as follows:

 4 I.         INTRODUCTION

 5            Fundamental to the Bankruptcy Code is the elimination of the proverbial race to the

 6 courthouse, in which the first creditor to enforce its rights gains an advantage over the other creditors

 7 by getting to a debtors assets before other creditors. The philosophy of bankruptcy envisions

 8 many things but perhaps the elimination of the Race to the Courthouseby creditors is paramount.

 9 I n reK a nt
              er, 345 F. Supp. 1151, 1156 (C.D. Cal. 1972), a ffd, 505 F.2d 228 (9th Cir. 1974). Second,

10 administration of a debtors estate is to be for the benefit of a ll of the debtors stakeholders and to

11 ensure a ratable distribution for allowed claims holders. Sh erm a n v . SE C (I n reSh erm a n), 658 F.3d

12 1009, 1015 (9th Cir. 2011). Third, the Bankruptcy Code is designed to give a debtor the ability to

13 move on with his or her life. As described by the Ninth Circuit, At the core of the Bankruptcy Code

14 are the twin goals of ensuring an equitable distribution of the debtors assets to his creditors and

15 giving the debtor a fresh start.

16            These goals are typically implemented by having the debtor in possession, a trustee, or a

17 creditors committee rather than an individual creditor pursue estate causes of action and claims

18 because they are fiduciaries of the estate. Thereby recoveries to the estate can potentially benefit
19 all creditors. Thus, claims against third parties, such as alter-ego or fraudulent transfer claims,

20 should be pursued with the interest of the creditors as a whole guiding the process, rather than having

21 such estate claims pursued by a single party motivated to litigate in a fashion that furthers its own

22 self-interest without regard to the estates interest.

23            These goals are directly implicated by the relief sought here by Standard with respect to the

24 proceedings that the Debtor has removed to this Court. Here, Standard seeks to add Los Angeles

25 Apparel (LAA) as a third-party defendant to its judgment based on a purported alter ego and unity

26 of interest between LAA and the Debtor and then to collect for itself from LAA. Thus, were this

27 Court to remand the removed actions and not to allow an estate fiduciary to prosecute them, Standard

28 would be able to pursue for its own individual benefit alter ego claims that belong to the Debtors
                                                                                                          7
     1250627.12/81961.82002                             7
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 1 creditor body as a whole.

 2            The Bankruptcy Code and equity do not countenance this result. Removed actions are best

 3 handled by the unsecured creditorscommittee or other estate fiduciary (if there is no committee),

 4 who will represent the interests of all of the estate creditors, not just Standard. That fiduciary, not

 5 Standard, should weigh in and decide where and how to bring the claims that are the subject of these

 6 actions. These claims are, simply put, property of the estate and should be addressed as such.

 7 Failing that, basic bankruptcy principles  including the ending of the proverbial race to the

 8 courthouse, the administration of the estate for all creditors, and the fresh startwill be violated.

 9 Moreover, there is a material risk of duplication were the estate to elect to bring actions covering

10 the same claims.

11 II.        BACKGROUND

12            The Debtor has been involved in litigation with Standard for more than eight years. See

13 Declaration of Dov Charney (Charney Decl.), at ¶ 4. The dispute began when an agreement

14 between the Debtor and Standard to acquire control of American Apparel resulted in Standards

15 acquiring control of American Apparel and then cutting the Debtor out. I d. at ¶¶ 5-6. Not only was

16 the Debtor cut out of the transaction, but Standard sued him for about $20 million based on the terms

17 of the Debtor's arrangement with Standard. I d. at ¶ 5. It is important to note that the suit was not

18 for the return of any money that had been paid or loaned to the Debtor. I d. at ¶ 6. The Debtor
19 received no funds from Standard. Then, the Debtors having lost his source of income from

20 American Apparel and having expended his then assets (and ability to borrow against same) to pay

21 for counsel and living expenses, he was left financially destitute. I d. at ¶ 6.

22            As a result, the Debtor was in pro per for most of the litigation and was represented at the

23 final hearing on the matter by an attorney who came in at the last minute and was paid a small fee

24 for limited services. I d. at ¶ 7. As might be expected, the Debtor lost, and the Court awarded

25 Standard a judgment in the amount of approximately $20 million (the Judgment). I d. at ¶ 8. The

26 foregoing is important not as a challenge to the Judgment, which is final, but to dispel the aspersions

27 cast by Standard, a Wall Street hedge fund with almost unlimited resources, that the Debtor is a bad

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                                                                                                       8
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 1 actor.1

 2            Since that time, Standard has embarked on what can only be called a scorched-earth policy

 3 in its attempts to enforce the Judgment. Standard attempts in its Motion for Remand to sling mud

 4 and to paint the Debtor as someone who flaunts the law and court orders. The true circumstances

 5 are better described as a huge New York hedge fund with plenty of capital and big firm legal

 6 representation attempting to use its economic leverage and legal representation to ruin the Debtors

 7 attempts to rehabilitate himself financially and to rebuild his reputation in the business community

 8 in which he finds himself. The legal confrontation can truly be described as David versus Goliath.

 9            This background is important even though Standard has won the battle with the Debtor and

10 obtained a judgment that is final. The most-pressing salient fact is that Standard has now turned its

11 attention to LAA, a company that employs the Debtor as its CEO and is the principal source of his

12 income. Having successfully obtained control of American Apparel (although its mismanagement

13 ultimately resulted in the chapter 11 of American Apparel after it no longer had the benefit of the

14 Debtor's skill at operating the company), Standard now claims that LAA, the primary source of the

15 Debtors income, is an alter ego and should be made a third party judgment debtor jointly liable on

16 the Judgment.

17            In deciding whether to remand the litigation that has been removed by the Debtor to his

18 chapter 11 case, whether LAA is the alter ego of the Debtor is not the relevant inquiry. The only
19 relevant inquiry is the proper forum in which that decision should be made and who should be the

20 party analyzing and pursuing that claim. Given the fact that Standard is attempting in each of the

21 removed lawsuits to enforce its judgments to the detriment of the Debtors other creditors, this Court

22 should deny the motions to remand and exercise its jurisdiction over the litigation to assure that the

23 litigation is handled in a manner that is in the best interests of all or the creditors of the Debtors

24

25            1
             Pursuant to its most recent form ADV filing with the SEC, Standard General L.P.
   reported discretionary assets under management and total number of accounts in the amount of
26 $1,554,842,000. SeeADV, Item 5, located at

27 https://reports.adviserinfo.sec.gov/reports/ADV/151831/PDF/151831.pdf.

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     1250627.12/81961.82002                           9
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 1 estate and consistent with basic bankruptcy principles.

 2            Standards approach is further evidenced by its filing on April 5, 2022 of a Motion for Relief

 3 from Stay for an order permitting Standard to proceed to final resolutionof each of the removed

 4 actions. Dkt. No. 61. Shortly after filing the Motion, on April 5, 2022, Standards counsel, Tony

 5 Bisconti, emailed Debtors counsel, Bill Lobel, asking that the Debtor agree to advance the Motion

 6 so that it could be heard on shortened notice on April 21st.

 7            Standards aggressive and relentless pursuit of these claims against the Debtor runs contrary

 8 to one of the critical goals of Section 362 of the Bankruptcy Code to provide the Debtor a breathing

 9 spellfrom its creditors, as noted by the oft-quoted legislative history of Section 362 as follows:

10            The automatic stay is one of the fundamental debtor protections provided by
              the bankruptcy laws. It gives the debtor a breathing spell from his creditors. It stops
11            all collection efforts, all harassment, and all foreclosure actions. It permits the
              debtor to attempt a repayment or reorganization plan, or simply to be relieved of
12
              the financial pressures that drove him into bankruptcy.
13
     I n reA bra m s, 127 B.R. 239, 241 (B.A.P. 9th Cir. 1991), cit
                                                                  ing H.R.REP. No. 95595, 95th Cong.,
14
     1st Sess. 34041 (1977), reprinted in 1978 U.S. CODE CONG. & ADMIN.NEWS 5963, 6296.
15
              Standard clearly has no intention of giving the Debtor his required breathing spell.
16
     III.     ARGUMENT
17
              A.        The Alter-Ego Claims Are Property Of The Estate And This Court Should
18
                        Defer Ruling Of Remand Motions Pending The Appointment Of A Committee
19
                        And The Involvement Of The Committees Counsel
20
              Standard has alleged that LAA is the alter-ego of Charney and, therefore, the assets of LAA
21
     should be used to satisfy Charneys debts owed to Standard. SeeMotion to Remand. In an effort
22
     to guaranty that only Standard benefits from the Alter-Ego Claim, Standard argues that the Alter-
23
     Ego Claim is not property of Charneys estate but belongs solely to Standard. Nonsense. The basis
24
     for Standards claim is entirely that it has a judgment against the Debtor, and, if LAA is the Debtors
25
     alter ego, that it is also entitled to LAAs assets to satisfy its judgment. Thus, LAA is either an asset
26
     of the Debtor in which case it belongs before this Court orit is not. There is no basis for it to be an
27
     asset of the Debtor somehow only for Standard. Consequently, Standards argument that the Alter-
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                                                                                                         10
     1250627.12/81961.82002                             10
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 1 Ego Claim is not property of Charneys estate is wrong and without any merit. This Court should

 2 not countenance Standards efforts to hijack property belonging to the estate for its own purpose

 3 and benefit to the detriment of the other creditors of the estate. Instead, if LAA were in fact the

 4 alter-ego of Charney as alleged by Standard, then LAAs assets would be part of Charneys estate

 5 to be liquidated for the benefit of all of Charneys creditors by an estate fiduciary, not by Standard,

 6 a self-interested actor.2

 7                      1.    As Numerous California Bankruptcy Courts Have Held, The Alter-Ego

 8                            Claims Are Property Of The Estate Under Section 541

 9            Section 541 of the Bankruptcy Code defines property of the bankruptcy estate as all legal

10 or equitable interests of the debtor in property as of the commencement of the case.11 U.S.C. §

11 541. The provision is construed broadly and includes causes of action. Unit
                                                                             ed St
                                                                                 atesv . W h it
                                                                                              ing

12 Pools, I nc., 462 U.S. 198, 205 n. 9 (1983). Bankruptcy Courts in California have routinely held that

13 property owned by a corporation may be considered a debtors property where the corporation is

14 the debtors alter ego. St
                            outv . M a rsh a ck (I n reSt
                                                        out
                                                          ), 649 F. App'x 621, 623 (9th Cir. 2016)

15 ([P]roperty owned by a corporation may be considered a debtor's property where the corporation

16 was the debtor's alter ego.); I n reSing h , No. 6:14-BK-19919-SC, 2019 WL 1231146, at *6 (B.A.P.

17 9th Cir. Mar. 14, 2019) (accord); M illerA v e. A cquisit
                                                           ion Pa rt
                                                                   nersv . B ra dy(I n reE nt
                                                                                            er. A cquisit
                                                                                                        ion

18 Pa rt
       ners, I nc.), 319 B.R. 626, 634 (9th Cir. BAP 2004) (accord).
19            In K enda llv . Turner(I n reTurner), 335 B.R. 140, 147 (Bankr.N.D.Cal.2005), for example,

20 pursuant to Rule 6009 of the Federal Rules of Bankruptcy Procedure (which permits the trustee to

21 prosecute actions on behalf of the estate), the trustee took over prosecution of judgment creditors

22 fraudulent transfer claims alleging that a limited liability company was the alter ego of the debtor.

23 The court in Turnerheld that because the debtor and the defendant corporation were alter-egos,

24 property of the corporation was property of the debtor and could be recovered by the trustee on

25 behalf of the estate.

26
              2
            It is worth noting that, while citing to no exigency, Standard seeks this Courts blessing to
27
   prosecute these actions for its benefit (financially and in pursuit of causing further distress to the
28 Debtor) in its preferred forum before the appointment of a creditorscommittee.
                                                                                                      11
     1250627.12/81961.82002                           11
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 1            Intrinsic in the trustees right and ability in Turnerto take over the judgment creditors

 2 fraudulent transfer and alter-ego claims pursuant to Rule 6009, is the underlying recognition (and

 3 prerequisite) that such claims belong to the estate and not to individual judgment creditors (such as

 4 Standard here). Indeed, numerous bankruptcy courts have expressly held that similar alter-ego

 5 claims were property of the estate. I n re O Reilly & C ollins, No. BR 12-33016 DM, 2014 WL

 6 460767, *6 (N.D.Cal. 2014) (holding that alter ego claims based on a series of alleged fraudulent

 7 transfers were property of the estate and stayed by the automatic stay); I n reH ow rey, LLP, No. C

 8 13-00981 SBA, 2014 WL 3899309 (N.D.Cal. 2014) (alter ego claims against partners of law firm

 9 based on diversion of funds and assets from the law firm to the partners were property of the estate

10 and stayed by the automatic stay); I n reC a pria t
                                                     iC onst
                                                           ruct
                                                              ion C orpora t
                                                                           ion, I nc., No. BAP NV-17-

11 1200-BHTA, 2018 WL 1404439 (BAP 9th Cir. 2018) (Not for Publication) (although stay did not

12 apply to non-debtors, it applied to property of the estate, including an alter ego claim based on

13 fraudulent transfer.)3

14            Moreover, bankruptcy courts in the Ninth Circuit have routinely held that alter-ego claims

15 alleging a generalized injury to the debtor corporation and all of its creditors are property of the

16 bankruptcy estate under § 541, and may be asserted only by the bankruptcy trustee. See I n re

17 A dv a nced Pa cka g ing & Prod. C o., 426 B.R. 806, 819 (C.D. Cal. 2010); I n reD a v eyRoofing ,

18 167 B.R. 604, 605 (Bankr. C.D. Cal. 1994) ([I]n the context of bankruptcy, only the Debtor or
19 Trustee has standing to assert the alter ego claim where injury to the corporation is alleged. Debtors

20 exclusivity to assert the claim follows from the conclusion that alter ego claims are property of the

21 bankrupt estate. Each creditor has a claim on the property of the estate, subject to the priorities of

22 the Bankruptcy Code, but property of the estate does not belong to any creditor individually); C B S,

23 I nc. v . F olks(I n reF olks), 211 B.R. 378, 386 (B.A.P. 9th Cir. 1997) (The trustee has the right to

24 bring any action in which the debtor has an interestbecause this is property of the estate, the trustee

25 is acting to benefit the debtor's estate, and is ultimately benefitting the estate's creditors upon

26 distribution.).

27
              3
28                A copy of this Opinion is attached hereto as Exhibit A.
                                                                                                      12
     1250627.12/81961.82002                             12
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 1            Notably, given the status of LAA as the Debtors employer, the Debtor (and its counsel) do

 2 not seek here to prosecute the subject claims themselves. Instead, the causes of action asserted in

 3 the removed Actions should be pursued by the creditors committee or another fiduciary (if there is

 4 no committee) for the benefit of the estate.

 5            To determine whether the action is personalized to an individual creditor or accrues

 6 generally to [the bankruptcy estate], the court must look to the alter ego claim and the injury for

 7 which relief is sought. C B S, I nc., 211 B.R. at 386. A particularized, i.e., personal, claim exists

 8 where the claimant himself is harmed and no other claimant or creditor has an interest in the

 9 cause.I n reA dv a nced Pa cka g ing & Prod. C o., 426 B.R. 806, 819 (C.D. Cal. 2010). A general

10 claim, by contrast, exists where the liability is to all creditors of the corporation without regard to

11 the personal dealings between such officers and such creditors.I d. If a claim is a general one,

12 with no particularized injury arising from it, and if that claim could be brought by any creditor of

13 the debtor, the trustee is the proper person to assert the claim, and the creditors are bound by the

14 outcome of the trustees action.I d. (quoting K a lb, Voorh is& C o. v . A m erica n F ina ncia lC orp., 8

15 F.3d 130, 132 (2d Cir.1993)).

16            While the Debtor here is an individual and not a corporation these cases distinguishing

17 a general injuryfrom particularized injuryare instructive on the true nature of the alter-ego

18 claims asserted by Standard and provide further authority for holding that such claims belong to the
19 estate. There is nothing about any of the removed Actions that supports a finding that the remedy

20 sought in those Actions is particularized to Standard and, in fact, Standard essentially admits that

21 the contrary is true.

22            Specifically, in its Motion to Amend Judgment to add LAA as Charneys alter-ego, Standard

23 alleges that LAAs assets are treated as the assets of Charney: Charney treats LAAs assets as his

24 own. Motion to Amend, at 7. It also alleges that LAA has diverted Charneys assets (or, in other

25 words, it alleges that LAA has caused the fraudulent transfer of Charneys assets), stating, LAA

26 actively participates in the diversion of Charneys assets          I d. Standard further alleges that

27 Charney is stashing his assets and income in LAA. I d. at 13. Based on these and other allegations,

28 Standard seeks to add LAA as a judgment debtor, holding it jointly and severally liable for
                                                                                                         13
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 1 Charneys debts. To the extent these allegations made by Standard in its Motion to Amend are true,

 2 that the assets of LAA are to be treated as the assets of Charney, that Charney is stashing his personal

 3 assets with LAA and that LAA has diverted or fraudulently transferred assets belonging to Charney,

 4 such claims are patently property of the Estate as being based on fraudulent transfers (seee.g ., I n re

 5 O Reilly& C ollins; I n reH ow rey, LLP and I n reC a pria t
                                                               iC onst
                                                                     ruct
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                                                                                     ion, I nc.) and are

 6 generalized claims as opposed to claims particular to Standard (seee.g ., I n reA dv a ncedPa cka g ing

 7 & Prod. C o., I n reD a v eyRoofing , and I n reF olks).

 8                      2.    The Cases Relied On By Standard Are Distinguishable And Do Not

 9                            Support Remand

10            Standard ignores each of the on-point cases cited above, and instead attempts to rely on

11 distinguishable cases in support of its remand request. As demonstrated below, each of these cases

12 is distinguishable and does not justify the remand sought.

13            Debtor cites to I n reC yt
                                       odyn of N ew M ex
                                                       ico, I nc. which is a case that involved alter-ego

14 claims and was remanded. SeeMotion to Remand at 15 citing I n reC yt
                                                                      odyn of N ew M ex
                                                                                      ico, I nc.,

15 374 B.R. 733, 738 (Bankr. C.D. Cal. 2007). Preliminarily, the case involves very little discussion

16 of the alter-ego claims, mentioning them in passing by stating only that the [party objecting to the

17 remand] argues that alter ego claims such as those that [plaintiff] asserts belong exclusively to the

18 debtor in possession to assert. However such an argument seems irrelevant to this particular dispute,
19 since here, [plaintiffs] alter ego claims are being asserted against the Debtor, not on the Debtors

20 behalf. I d. at 744. Thus, although it is true that C yt
                                                           odyn of N ew M ex
                                                                           ico involved alter ego claims

21 and was remanded, the alter ego claims were very different from those involved in this case and the

22 court found that they were irrelevant as a result. This case is inapposite because here the alter ego

23 claims are being asserted against a non-debtor, LAA, effectively on behalf of the Debtor in an effort

24 to bring assets from the non-debtor into the debtors estate. Thus, the alter-ego claims here serve to

25 increase the available property of the estate for distributions to all creditors.

26            The Debtor cites to three additional cases for the proposition that alter-ego claims are not

27 property of the estate: Motion to Remand, at 20, citing A h com , Lt
                                                                      d. v . Sm eding , 623 F.3d 1248, 1253

28 (9th Cir. 2010) (A h com ), K a ynev . H o, No. LACV0906816JAKCWX, 2013 WL 12120081, at *4-
                                                                                                      14
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 1 *5 (C.D. Cal. Nov. 4, 2013) (K a yne ) and Sh a ox
                                                      ing C ount
                                                               yH ua yueI m port& E x
                                                                                    portv . B h a um ik,

 2 191 Cal. App. 4th 1189, 1193 (Ct. App. 2011) (Sh a ox
                                                        ing C ount
                                                                 y). Each of these cases is

 3 inapposite.

 4            The Court in A h com held that a creditors alter ego claims against the bankrupts

 5 shareholders could be pursued by the creditor. The Court reached that conclusion after finding that

 6 California law does not recognize a freestanding general alter ego claim that requires shareholders

 7 to be liable for all of a companys debt or that allows a corporation and its shareholders to be treated

 8 as alter egos for purposes of all of the corporations debts. I d. at 1252. The Court recognized,

 9 however, that the California state court in St
                                                oddv . G oldberg er, 73 Cal. App. 827, 141 Cal. Rptr. 67

10 (1977) (St
             odd) expressly held that a bankruptcy trustee can sue for certain alter-ego claims,

11 including the following: an action by a trustee in bankruptcy to recover assets of the bankrupt by

12 setting aside fraudulent and preferential transfers ; an action by creditors and a trustee in

13 bankruptcy for conversion by a corporate stockholder of assets of the bankrupt corporation ; an

14 action by the trustee of a bankrupt corporation against the sole shareholders on an alter ego theory

15 upon allegations that ... defendants deposited corporation funds into their personal bank accounts or

16 that corporation funds were received by the defendants personally. I d. quoting St
                                                                                     odd at 71. In

17 other words, claims involving a generalized harm, and claims that cause to bring assets into the

18 debtors estate by way of avoidance, turnover, or otherwise. Unlike the alter-ego claim in A h com ,
19 the alter-ego claim at issue in this case does not involve attempting to hold an individual shareholder

20 liable for all of a companys debt as the companys alter-ego. Instead, the alter-ego claim is

21 attempting to permit Debtors creditors to reach (and, therefore, bring into Debtors estate) assets

22 belonging to a separate company, of which the Debtor is not a shareholder. The Alter-Ego Claim

23 at issue here, is akin to those that the A h com and St
                                                         odd Courts found were properly pursued by a

24 bankruptcy trustee on behalf of all of the creditors of the estate.

25            As noted above, subsequent California state, bankruptcy, and bankruptcy appellate panel

26 case after A h com , have identified numerous alter-ego claims for which a bankruptcy trustee has

27 authority to pursue, with one such court stating that [t]he trustee of a bankrupt corporation can

28 maintain an action against a defendant based on an alter ego theory if there is some allegation of
                                                                                                      15
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 1 injury to the corporation that gives the corporation a right of action against the defendant.I n re

 2 O Reilly& C ollins, 2014 WL 460767, *6 (holding that alter ego claims based on a series of alleged

 3 fraudulent transfers were property of the estate and stayed by the automatic stay); I n reH ow rey,

 4 LLP, 2014 WL 3899309 (N.D.Cal. 2014) (alter ego claims against partners of law firm based on

 5 diversion of funds and assets from law firm to partners was property of the estate and stayed by the

 6 automatic stay); I n reC a pria t
                                   iC onst
                                         ruct
                                            ion C orpora t
                                                         ion, I nc., 2018 WL 1404439 (BAP 9th Cir.

 7 2018 Not for Publication) (although stay did not apply to non-debtor, it applied to property of the

 8 estate, including an alter ego claim based on fraudulent transfer.) Unlike the alter-ego claim found

 9 to not be a general claim in A h com because it sought to hold a shareholder liable for corporate debts,

10 the Alter-Ego Claim here centers around the Debtor allegedly hiding his own assets in LAA,

11 allegedly treating LAAs assets as his own, and LAAs alleged diversion and fraudulent transfer of

12 Charneys assets.

13            The Court in K a yneheld that judgment creditors had standing to assert a claim seeking to

14 impose alter ego liability. Although there were allegations of assets being stripped and fraudulently

15 conveyed away, the Court found that the alleged transfers were not the basis of the Plaintiffs alter

16 ego claim, but simply evidence that defendants were alter egos. I d. at *6. The Court found instead

17 that the three primary theories in support of the alter ego claims were (i) that defendant controlled

18 Grande and managed it without regard to separate legal identity, (ii) use of the other defendants as
19 instrumentalities to exercise alter ego control over Grande, and (iii) Defendants manipulated assets

20 among various entities, causing Grande to lack available assets to satisfy the judgment. I d. Similar

21 to A h com , K a yneinvolved alter-ego claims against individual shareholders, attempting to hold them

22 liable for debts owed by the corporation. Here, however, the Alter-Ego Claim is primarily premised

23 on the alleged diversion and fraudulent transfer of Charneys assets through and by LAA. This

24 Alter-Ego Claim asserts Debtor has hidden his assets in LAA and that LAA has participated

25 fraudulently transferring Debtors assets be outside of the reach of his creditors. K a yneis therefore

26 distinguishable from this case for the same reason that A h com is distinguishable: this case involves

27 a different type of alter-ego claim than those involved in A h com and K a yneand is instead more like

28 the claims held by St
                       oddto be properly pursued by a bankruptcy trustee. St
                                                                           oddat 71
                                                                                                      16
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 1            In Sh a ox
                       ing C ount
                                y, the Court held that the creditors action to hold the individual liable as

 2 an alter ego for a creditors substantive causes of action against a bankrupt corporation was not the

 3 property of the bankruptcy estate. Importantly, the Court further premised its ruling on its finding

 4 that California law does not recognize a general alter ego claim by which a defendant may be held

 5 personally liable for a bankrupt corporation's debts in the absence of allegations giving the

 6 corporation a right of action against the defendant. Sh a ox
                                                               ing C ount
                                                                        y, 191 Cal. App. 4th at 1199.

 7 Further noting, [f]or example, the trustee of a bankrupt corporation can maintain an action against

 8 corporate shareholders on an alter ego theory in order to recover property or pursue a right of action

 9 belonging to the bankrupt corporation, including an action to set aside fraudulent transfers or an

10 action for conversion to recover assets of the bankrupt corporation       I d. at *310. The Court found

11 that the case before it did not involve allegations of fraudulent transfers or action to recover assets

12 of the bankrupt entity (I d. at *311), instead, the allegations against [Defendant] did not adhere to

13 the requirements necessary to maintain the separate corporate existence. There was also an

14 allegation that the defendant caused the Debtor to liquidate and distribute its assets to avoid

15 judgment and render it insolvent.

16            Based on these allegations, the Court found that the alter ego claim was not property of the

17 estate subject to the automatic stay. Unlike the alter-ego claims in Sh a ox
                                                                              ing C ount
                                                                                       y, this case does

18 not involve claims attempting to hold an individual defendant personally liable for a bankrupt
19 corporations debts. It also does not involve any allegations that the Debtor caused LAA to liquidate

20 and distribute assets to avoid judgment and become insolvent. To the contrary, the Alter-Ego Claim

21 seeks to hold a non-party, corporation (LAA) that is actively conducting business liable for the debts

22 of an individual, non-shareholder (the Debtor). Moreover, the alter-ego claims at issue in Sh a ox
                                                                                                    ing

23 C ount
        yare demonstrably different from the alter-ego claims at issue in this case, which squarely

24 involve allegations of LAA hiding, diverting and fraudulently transferring Charneys assets assets

25 that now belong to the Debtors estate if the Alter-Ego Claim is proven true.

26                      3.    The Court Should Defer Determining The Remand Motions To Permit

27                            The Committee Of Unsecured Creditors To Be Heard

28            Because the Alter-Ego Claim is property of the Estate, this Court should defer its
                                                                                                        17
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 1 consideration of the Remand Motion until the United States Trustee appoints a committee of

 2 unsecured creditors (the Committee) and the Committee selects counsel to represent it. SeeLa ndis

 3 v . N . A m . C o., 299 U.S. 248, 254-55 (1936) (noting the power inherent in every court to control the

 4 disposition of the causes on its docket with economy of time and effort for itself, for counsel, and

 5 for litigants ). The Committee may want to exercise control over litigation related to the Alter-

 6 Ego Claim and prosecute or settle the claim for the benefit of the estate. At the very least, the

 7 Committee should get the opportunity to weigh in on this issue and on the issue of remand before

 8 any decision to remand is made. And clearly there is no exigency to prevent this from happening.

 9            The necessity of Committee involvement is readily apparent once one considers the

10 scorched-earth approach and goals of Standard. Standard is not focused on maximizing recovery

11 for the estates creditors, but is instead focused on destroying Charneys reputation and all of his

12 avenues and prospects for success and income building. Standard would be happy to see LAA

13 pillared, liquidated and left in rubble, if for no other reason than the satisfaction it will receive

14 knowing that Charney will take a reputational hit as a result. Such goals are anticipated to be

15 contrary to those of the Committee to be appointed in this case, which will presumably be focused

16 on maximizing the recovery for the estate, without any hidden motivation of destroying Charney at

17 all costs. The need for an independent party (the Committee) to take over the Alter-Ego Claim to

18 assess its value and extract from it a recovery beneficial to the estate and its creditors is appropriate
19 given the goals of the Bankruptcy Code and is critical here to further the Debtors ultimate

20 reorganizational efforts.

21            B.        Removal Was Proper Under 28 U.S.C. §§ 1334 And 1452(a) Because The

22                      Actions Are Patently Related ToCharneys Bankruptcy Case

23            Should this Court decline to defer a decision on the Remand Motion, then the Court should

24 deny the Remand Motion on the merits because this action is related to the Debtors

25 bankruptcy proceedings and removal was timely.

26            Under 28 U.S.C. § 1452(a), [a] party may remove any claim or cause of action in a civil

27 action . . . to the district court for the district where such civil action is pending, if such district court

28 has jurisdiction of such claim or cause of action under section 1334. Under 28 U.S.C. § 1334, in
                                                                                                            18
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 1 turn, federal district courts shall have original but not exclusive jurisdiction of all civil proceedings

 2 arising under title 11 [i.e., the U.S. Bankruptcy Code], or arising in or rela t
                                                                                  ed t
                                                                                     o cases under title

 3 11.I d. (emphasis added).           The Ninth Circuit has adopted an expansive definition of

 4 bankruptcy related to jurisdiction under Sections 1334 and 1452: whether t
                                                                               h eout
                                                                                    com eof t
                                                                                            he

 5 proceeding could conceiv a blyh a v ea nyeffecton t
                                                     h eest
                                                          atebeing a dm inist
                                                                            ered in ba nkrupt
                                                                                            cy.I n

 6 reF iet
         z, 852 F.2d 455, 457 (9th Cir. 1988) (emphasis added). In other words, [a]n action is related

 7 to bankruptcy if the outcome could alter the debtor's rights, liabilities, options, or freedom of action

 8 (either positively or negatively) and which in any way impacts upon the handling and administration

 9 of the bankrupt estate. I d.; seea lso In re Mortgages Ltd., 399 B.R. 673, 676 (Bankr. D. Ariz. 2008)

10 (same).

11            This action, whatever its outcome, will significantly impact Charneys estate and is therefore

12 related toCharneys bankruptcy. Seea lso, Section D.(6), infra . Therefore, under the Pa cortest,

13 this Court has jurisdiction over this matter.

14            C.        The Notices Of Removal Were Timely

15            Standard also bizarrely argues that Charneys Notices of Removal were untimely under Rule

16 9027 of the Federal Rules of Bankruptcy Procedure despite admitting that each of the Notices of

17 Removal was filed within seven (7) days of Charneys bankruptcy petition. Standards argument

18 misstates the deadlines provided in Rule 9027, erroneously arguing that Rule 9027 required Charney
19 to wait a certain amount of time before filing his Notices of Removal. See Motion, at 17 (Here,

20 however, Charney immediately filed notice of removal at the same time he filed for bankruptcy (or,

21 in the case of the First Enforcement and FTA, soon thereafter)).4

22            Rule 9027 governs the procedure for actions, like the ones involved here, to be

23 removed under 28 U.S.C. § 1452(a). SeeI n rePerry, No. ADV. SV-10-01356-GM, 2011 WL

24 4503166, at *6 (B.A.P. 9th Cir. July 8, 2011) (Rule 9027 governs the procedure for removal under

25
              4
26           Standard also erroneously argues that Charney was required to attach a copy of all process and
   pleadingsto his Notices of Removal, ignoring completely that Local Rule 9027-1(d) expressly permits the
27 removing party to file such documents either 30 days after the date of filing of the notice of removal,or if
   a motion to remand is filed prior to expiration of such 30-day period, 14 days after entry of an order denying
28 such motion to remand. SeeLR 9027-1(d).
                                                                                                             19
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 1 § 1452(a)).24 Rule 9027(a) provides that, where, as here, a civil action was initiated prior to

 2 the bankruptcy action, a notice of removal may be filed within . . . 90 days after the order for relief

 3 in the case under the [Bankruptcy] Code. The voluntary filing of a bankruptcy petition constitutes

 4 an order for relief under the Bankruptcy Code. 11 U.S.C. § 301 (A voluntary case under

 5 [the Bankruptcy Code] is commenced by the filing . . . of a petition under [the Bankruptcy Code] .

 6 . . The commencement of a voluntary case . . . constitutes an order for relief under such chapter).

 7            Here, Charney filed for bankruptcy on March 10, 2022. He filed the notice of removal of

 8 the Domesticated Judgment Action on March 10, 2022, and the other two notices on March 17,

 9 2022. Clearly, each of the Notices of Removal were timely under Rule 9027. Rule 9027 did not,

10 as Standard argues, require that Charney wait to file his Notices of Removal.

11            D.        This Court Should Exercise Jurisdiction On Equitable Grounds.

12            Equitable considerations also support the exercise of federal jurisdiction over the Actions

13 and the underlying claims. Ninth Circuit courts consider fourteen non-exclusive factors in

14 determining whether to remand on equitable grounds. SeeI n reC eda rF unding , I nc., 419 B.R. 807,

15 820 & n.18 (B.A.P. 9th Cir. 2009) (listing up to fourteen factors). The more significant of these

16 factors include the effect or lack thereof on the efficient administration of the estate if the Court

17 recommends [remand],the degree of relatedness or remoteness of [the] proceeding to [the] main

18 bankruptcy case, whether the applicable law is difficult or unsettled, and the possibility of
19 prejudice to other [non-removing] parties in the action. Ultimately, which factors predominate

20 varies depending upon the facts and circumstances of a particular case. St
                                                                            ich t
                                                                                ing Pensioenfonds

21 A B P v . C ount
                  ryw ideF in. C orp., 447 B.R. 302, 312 (C.D. Cal. 2010) (denying remand motion where

22 the most important factors . . . weigh against remand). These factors weigh heavily against

23 remand, and in favor of the continued exercise of jurisdiction by this Court over the subject matter

24 of the Actions.

25            While Debtor is responding to Standards arguments as to these factors, in the case at bar

26 the fact that the removed Actions should be pursued for the benefit of all of the creditors of the

27 Debtors estate by a representative of the estate, like the creditors committee or other independent

28 fiduciary of the estate, should end the inquiry as to remand. Moreover, each of these actions need
                                                                                                      20
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 1 to be properly coordinated by one court (this Court) to maximize efficiency, and reduce litigation

 2 costs for the estate. Having this Court handle coordination of each of the actions will also ensure

 3 that they are progressing in a manner that considers the impact that resolution of the actions will

 4 have on the whole creditors body.

 5            Nonetheless, the Debtor responds to Standards arguments as to the enumerated factors as

 6 follows:

 7                      1.    The effect or lack thereof on the efficient administration of the estate if

 8                            the court recommends remand.

 9            The most important factor for bankruptcy court to consider when deciding whether to

10 exercise its discretion to equitably remand a removed proceeding is the effect of remand on efficient

11 administration of bankruptcy estate. I n reA delph ia C om m unica t
                                                                      ionsC orp., 285 B.R. 127, 40 Bankr.

12 Ct. Dec. (CRR) 112 (Bankr. S.D. N.Y. 2002). Here, this factor weighs heavily in favor of this Court

13 retaining jurisdiction because the claims should be pursued by a fiduciary of the estate and remain

14 under this Courts purview and oversight given the impact that resolution of the claim will have on

15 the creditor bodys recovery and the Debtors reorganization efforts.

16            Remand of the Actions back to the state court would negatively impact the administration

17 of the Bankruptcy Case because the estate would be forced to endure litigation costs in state court

18 while simultaneously incurring such costs in connection with adjudication and administration of
19 Standards anticipated proofs of claim to be filed against Charney. Moreover, because a plan of

20 reorganization can only be confirmed when it provides for full payment of both administrative and

21 priority claims under Section 1129 of the Bankruptcy Code, confirmation of a plan may be

22 jeopardized if payment of the administrative claims and priority claims cannot be ensured because

23 estate funds are instead committed to defending the Actions in state court. In addition, the claims

24 should be prosecuted by the Committee who may ask for guidance from this Court in how it should

25 proceed and to obtain the requisite standing to proceed, and who may bring their own claims on the

26 same causes of action resulting in duplication.

27            Any collection efforts conducted by Standard in the Actions that are not stayed by Section

28 362 of the Bankruptcy Code and/or for which Standard gets relief from stay, such as pursuing
                                                                                                      21
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 1 fraudulent transfers or alter-ego claims, are also very likely to be similar if not identical to efforts

 2 of the Committee , resulting in duplicative claims being pursued in perhaps different forums. The

 3 Debtors estate should not incur duplicative costs related to the Debtors defense of collection

 4 efforts.

 5            Moreover, the outcomes of the Alter-Ego Claim and the Fraudulent Transfer Action will

 6 impact the assets available for distribution in this case and any settlement will have to come to this

 7 Court for approval. Therefore, Standards Actions, claims of fraudulent transfer and alter-ego, and

 8 other claims related to collection on the debt allegedly owed to it, are inextricably intertwined with

 9 the Debtors financial affairs and administration of the Debtors estate. It is further worth noting

10 that unlike the Bankruptcy Court, the state court would rule on the Alter-Ego Claim with no

11 consideration to Debtors whole creditor class or on how resolution of the claim will affect

12 administration of Debtors estate or Debtor reorganizational prospects. Instead, the Superior Court

13 would be focused only on the creditor before it: Standard.

14            This factor weighs heavily in favor of this Court retaining jurisdiction over the Actions.

15                      2.    Extent to which state law issues predominate over bankruptcy issues.

16            To be sure, the Actions were initiated prior to the Bankruptcy Case, and arose under state

17 law. What changed after the bankruptcy filing is that the controlling issue now is whether the Alter-

18 Ego Claim is property of Charneys bankruptcy estate. This new aspect of the dispute is unique to
19 the bankruptcy process. As noted above, the Committee also has an interest in arguing that such

20 claims belong to the estate and should be afforded the opportunity to weigh-in on the issue.

21            Moreover, it is very likely that Standard will be filing proofs of claim against Charney related

22 to the claims at issue in the Actions. This Court is more than capable of determining the state law

23 involved in the actions (blackletter alter ego law) in conjunction with the claims administration

24 process. Senorx
                 , I nc. v . C oudertB rot
                                         h ers, LLP, No. C-07-1075 SC, 2007 WL 1520966, at * 3 (N.D.

25 Cal. May 24, 2007) ([d]espite the presence of state law claims and the need to interpret a state

26 statute, bankruptcy courts are capable of resolving issues of state law).

27                      3.    Difficult or unsettled nature of applicable law.

28            Here, Standards collection claims, Fraudulent Transfer Claim and Alter-Ego Claim, while
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 1 based on state law, are not unusual or complex or unsettled. Seea lso I n reW a sh . M ut
                                                                                           ., I nc. Sec.

 2 Lit
     ig ., No. C09-816 MJP, 2009 WL 3711614, at *3 (W.D. Wash. Nov. 2, 2009) (while Plaintiffs

 3 claims are based on state law [including California state law claims of fraud, negligent

 4 misrepresentation, breach of fiduciary duty, and violations of California Corporations Code §

 5 25400 etseq.], they are not unusual or complex.)

 6            Thus, this factor weighs heavily in favor of this Court retaining jurisdiction over the Actions.

 7 I n reC yt
            odyn of N . M ., 374 B.R. 733, 739 (Bankr. C.D. Cal. 2007) (factor weighing against remand

 8 because the case did not involve difficult or unsettled issues of state law); St
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 9 A B P v . C ount
                  ryw ideF in. C orp., 447 B.R. 302, 312 (C.D. Cal. 2010) (denying remand where there

10 are no unsettled or difficult issues of state law). Indeed, this Court has substantial experience

11 adjudicating similar state law claims to those at issue here.

12                      4.    Presence of related proceeding commenced in state court or other non-

13                            bankruptcy proceeding.

14            Charney has removed each of the Actions and there are no other related proceedings in state

15 court pending. Securit
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16 H elpers, 124 F.3d 999, 1010 (9th Cir. 1997) (Noting that when a case has been removed, the state

17 court proceeding is extinguished, and [n]o other related state proceeding exists).

18            Thus, there is no risk of inconsistency in the rulings should this Court deny the Motions to
19 Remand. The opposite risk is present, however, as set forth above, if the Motion is granted.

20                      5.    Jurisdictional basis, if any, other than 28 U.S.C. § 1334.

21            It is undisputed that this Court has jurisdiction over the case pursuant to 28 U.S.C. § 1334.

22 There is no other jurisdictional basis.

23                      6.    Degree of relatedness or remoteness of proceeding to main bankruptcy

24                            case.

25            The Actions are highly related to the main bankruptcy case given that they involve claims

26 for substantial assets of LAA that would materially improve the prospect of recovery for creditors

27 in this Bankruptcy Case, involve core claims of fraudulent transfer and alter-ego that are property

28 of the Estate that will directly impact the estates administration and the ability of the Debtor to
                                                                                                         23
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 1 reorganize. In addition, even if the Court remanded the Actions and allowed them to be prosecuted

 2 solely for the benefit of Standard, it is highly likely that the Committee would initiate an action on

 3 behalf of the estate for the very same claims.

 4                      7.    The substance rather than the form of an asserted coreproceeding.

 5            The Alter-Ego Claim is a core proceeding because as an asset of the estate, it is a matter

 6 concerning administration of the estate. See28 U.S.C. § 157(b)(2)(A). The Fraudulent Transfer

 7 Action is a core proceeding as well under Section 157(b)(2)(H). See28 U.S.C. § 157(b)(2)(H) (Core

 8 proceedings include proceedings to determine, avoid, or recover fraudulent conveyances). The

 9 corenature of these claims is not purely due to form, as adjudication of them and treatment of

10 them in the bankruptcy case will have a significant impact on the administration of the bankruptcy

11 case and the claims administration process. Each of these actions need to be properly coordinated

12 by one court (this Bankruptcy Court) to maximize efficiency, and reduce litigation costs for the

13 estate. Having this Court handle coordination of each of the actions will also ensure that they are

14 progressing in a manner that considers the impact that resolution of the actions will have on the

15 creditors at whole and on the Debtors reorganization.

16                      8.    The feasibility of severing state law claims from core bankruptcy

17                            matters to allow judgments to be entered in state court with

18                            enforcement left to the bankruptcy court.
19            The Fraudulent Transfer Action consists of only actual fraudulent transfer claims (each of

20 which is core) and a related cause of action for permanent injunction. In the Domesticated Judgment

21 Action the Judgment has been entered against Debtor, and what remains is the Alter-Ego Claim,

22 which as discussed above, is core. Therefore, there are no state court claims to sever in these actions.

23 This factor thus weighs in favor of this Court retaining jurisdiction or is otherwise neutral.

24                      9.    The burden on the Bankruptcy Courts docket.

25            The Debtor understands the impact that the case will have on the appropriate court's docket,

26 and appreciates this Court's willingness to consider retaining the Actions. Although any courts

27 docket will be burdened by this additional litigation, which is a factor in every bankruptcy case, the

28 efficiencies to be gained in the resolution of the litigation in a single forum are considerable when
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 1 giving due consideration to the rights of all of Debtors creditors, not just Standard. This is

 2 particularly true given that claims at issue m ustalso be resolved in the context of Debtors' chapter

 3 11 proceedings. The disputes are more appropriately adjudicated in the Debtors' bankruptcy cases,

 4 before the Bankruptcy Court. Moreover, the Committee will very likely bring the very same Alter-

 5 Ego claim itself before this Court by way of an adversary proceeding if it finds that the claim has

 6 merit, potentially causing litigation of duplicative alter-ego claims in two different forums. If this

 7 occurs, the burden on this Court will be the same even if it remands the Actions.

 8            Moreover, the burden on this Court will be somewhat limited given that the Domesticated

 9 Judgment Action and Defamation Action have both already resulted in a final state court judgment,

10 and all that remains for those cases are post-judgment collection efforts, issues which this Court has

11 significant experience handling through the claims administration process. This factor is therefore

12 neutral or weighs in favor of retaining jurisdiction.

13                      10.   The likelihood that the commencement of the proceeding in bankruptcy

14                            court involves forum shopping by one of the parties.

15            There is no indication that Charneys bankruptcy filing was part of a scheme to forum shop.

16 Instead, it was motivated by financial desperation in the face of mounting and relentless collection

17 efforts by Standard to collect on the more than $30 million in judgments it held against Charney

18 combined with the debts owed to others and the threat of ending the Debtors employment. Charney
19 was also facing foreclosure of his personal residence as a Notice of Default was recorded on or about

20 January 24, 2022. Charneys removal of the Actions to the same court where he filed his bankruptcy

21 does not constitute forum shopping.

22                      11.   The existence of a right to a jury trial.

23            Standard acknowledges that a jury trial is not relevant to the Domesticated Judgment and

24 Defamation Actions, but assert that jury trial rights are implicated in the Fraudulent Transfer Action.

25 The mere fact that LAA (as the Defendant in the Fraudulent Transfer Action) may have a jury trial

26 right in one of the Actions does not dictate remand. Instead, this Court can handle the action until

27 the time of trial, at which time the district court may withdraw the reference from the

28 bankruptcy court and allow a jury trial. Seee.g . I n reM id-A t
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                                                                      ic Res. C orp., 283 B.R. 176, 192
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 1 (S.D. W. Va. 2002) (If the parties do not consent to the bankruptcy court conducting the trial, the

 2 trial will be held before [the district court].). It is also not clear that LAA would even seek a jury

 3 trial.

 4                      12.    The presence in the proceeding of non-debtor parties.

 5            There are other non-debtor parties that Standard has brought into the Actions, including, for

 6 example, LAA. The outcome of this non-debtor litigation may have a direct effect on the assets

 7 available for distribution to the estates creditors, either by increasing or decreasing the amount

 8 available for distribution. This Court clearly has jurisdiction over these Actions and in light of the

 9 non-debtor partiessupport for the Actions being before this Court, this factor weighs heavily

10 against remand.            I n re M ort
                                         g a g es Lt
                                                   d., 399 B.R. 673, 677 (Bankr. D. Ariz. 2008)

11 ([u]nder Pa cor, federal jurisdiction exists pursuant to section 1334(b) when resolution of

12 nondebtor litigation may directly affect the estate's obligation to creditors whose claims are currently

13 before the bankruptcy court.)

14                      13.    Comity.

15            California bankruptcy and district courts determine California state law claims as a matter

16 of course. The effect the case will have on Debtors reorganization efforts can only be gauged by

17 the Bankruptcy Court. Comity dictates that the Bankruptcy Court resolve the case to the extent

18 possible, and any claims that the Bankruptcy Court is not able to try, be tried in the Central District,
19 where Debtors' Bankruptcy Case is pending.

20            Moreover, ordinarily the filing of a proof of claim to assert a claim against a debtor's estate,

21 even if predicated on state law, causes the bankruptcy objective of providing for the timely and

22 centralized adjudication of all claims and disputes in the bankruptcy court to override any

23 conflicting comity considerations based upon the state law nature of the claim asserted. Here, it is

24 highly anticipated that Standard will be filing proofs of claim in Charneys Bankruptcy Case.

25                      14.    The possibility of prejudice to other parties in the action.

26            Standard will not suffer prejudice if these claims are resolved in the Bankruptcy Court. The

27 claims were originally filed in the state court located in Los Angeles County and Charneys

28 Bankruptcy Case is pending in the Bankruptcy Court for the Central District of California, also
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 1 sitting in Los Angeles County. Instead, the Debtor and all other creditors in the Bankruptcy Case

 2 will face prejudice in the event of remand because there is a risk of the reorganization efforts being

 3 stalled while the parties await resolution of the state court proceedings. Moreover, all other creditors

 4 and the estate will be prejudiced to the extent that the Alter-Ego Claim is adjudicated without the

 5 involvement of the Committee and for the benefit of Standard, whose goal would be to prosecute

 6 the claim on behalf of the estate and all of the creditors, as opposed to Standards intent to prosecute

 7 it for its own benefit and to pursue the claim for its own illegitimate motives and purposes.

 8            E.        Charneys Bankruptcy Case Was Filed In Good Faith

 9            There is no evidence, whatsoever, that Charney filed his bankruptcy case with a bad faith

10 intent to hinder his creditors. Whats abundantly clear from a cursory review of Charneys

11 Schedules and of Standards Motion to Remand, is the Charney has considerable debts (including

12 Standards claims of over $30 million as well as other significant debts) and little to no

13 unencumbered assets. Given Standards scorched-earth approach and threats to his continued

14 employment coupled with debts owed to many parties, Charney had no choice but to seek

15 bankruptcy protection in hopes and with the goal of a successful reorganization and has the absolute

16 right to do so. Removing the Actions was a necessary step in Charneys reorganization efforts,

17 ensuring that all of the Actions are pending before the same Judge and same Court, thus significantly

18 reducing costs to the estate and maximizing efficiencies. Removing the Actions will also afford this
19 Court the flexibility to preside over the cases in a manner that is best suited for and in support of

20 Debtors reorganization efforts and in a manner that is in the best interest of all of the estates

21 creditors, and not just Standard. Standards allegations that Charneys conduct was in bad faith are

22 completely meritless.

23            F.        The Rooker-Feldman Doctrine Is Inapplicable

24            Standards reliance on the Rooker-Feldman Doctrine in purported support of remand is a red

25 herring. That doctrine has no has no application to a properly removed case where ... there is no

26 attack on a separate and final state-court judgment[;]consequently, a federal court could set aside

27 a state court default judgment following removal. I n rePa ch eco, 616 B.R. 126, 133 (Bankr.

28 D.N.M. 2020). In this Case, there is no judgment to be overturned. The California state courts have
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 1 not issued any final ruling or judgment on the Alter-Ego Claim, nor have they entered judgment

 2 with respect to the Fraudulent Transfer Claim, therefore, the Rooker-Feldman Doctrine is

 3 inapplicable to those claims.

 4 IV.        CONCLUSION

 5            Wherefore, Charney respectfully requests that this Court deny Standards Motion to
 6 Remand, in its entirety.

 7
     DATED: April 7, 2022                    THEODORA ORINGHER PC
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 9
                                             By:          /s/ Christopher J. Harney
10
                                                   William N. Lobel
11                                                 Christopher J. Harney
                                                   Attorneys for Judgment Debtor Dov Charney
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                        EXHIBIT “A”




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                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 535
Anton Blvd., Ninth Floor, Costa Mesa, CA 92626.

  A true and correct copy of the foregoing document entitled (specify): DEBTORS OPPOSITION TO
  JUDGMENT CREDITORS MOTION TO REMAND STATE COURT ACTION TO CALIFORNIA
  SUPERIOR COURT will be served in the manner stated below:
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 04/7/2022,
I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons
are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 04/07/2022 I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.


                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 04/07/2022, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Hon. Vincent P. Zurzolo (overnight  Federal Express)
United States Bankruptcy Court
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1360
Los Angeles, CA 90012

                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

   04/07/2022                    Sara Tena                                                      /s/ Sara Tena
   Date                           Printed Name                                                  Signature




1250627.12/81961.82002 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

          Anthony Bisconti tbisconti@bklwlaw.com,
          4579179420@filings.docketbird.com;docket@bklwlaw.com
          William N Lobel wlobel@tocounsel.com, stena@tocounsel.com;sschuster@tocounsel.com
          Jessica Taran jtaran@jtaranlaw.com
          United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov


2. SERVED BY UNITED STATES MAIL

          Keith A. Fink
          Keith A Fink & Associates
          11500 Olympic Blvd Ste 316
          Los Angeles, CA 90064




1250627.12/81961.82002 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
